                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

         Katrice R. Williams,         )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )             3:21-cv-00239-RJC-DCK
                                      )
                  vs.                 )
                                      )
            Amber LNU                 )
      Brinker International, Inc.,    )
            Defendant(s).             )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s September 29, 2021 Order.

                                               September 29, 2021




      Case 3:21-cv-00239-RJC-DCK Document 10 Filed 09/29/21 Page 1 of 1
